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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                     Case No: 2:16-cv-1266-RWS
                                    §
vs.                                 §
                                    §
THE WALT DISNEY COMPANY             §
                                    §
      Defendant.                    §
___________________________________ §

 JOINT MOTION TO SUBSTITUTE PARTIES AND MOTION TO EXTEND TIME TO
                FILE ANSWER OR OTHERWISE RESPOND

       Defendant The Walt Disney Company (“Defendant”) and Plaintiff Rothschild Broadcast

Distribution Systems, LLC (“RBDS” or “Plaintiff”) hereby submit this Joint Motion to

Substitute Parties and Motion to Extend Time to File Answer or Otherwise Respond and in

support thereof state:

                         JOINT MOTION TO SUBSTITUTE PARTIES

       1.      On November 11, 2016, RBDS filed an action in this Court against The Walt

Disney Company for alleged infringement of U.S. Patent No. 8,856,221 (“the patent-in-suit”).

The Walt Disney Company represents and warrant that ABC, Inc. d/b/a Disney Movies

Anywhere is the proper party to defend against the allegations made by RBDS in this patent

infringement action. Furthermore, ABC, Inc. d/b/a Disney Movies Anywhere is independently

able to satisfy any judgment against it in this action.

       2.      In reliance on these representations and warranties, RBDS agrees that ABC, Inc.

d/b/a Disney Movies Anywhere is a proper defendant in this litigation and should be substituted

for The Walt Disney Company as the defendant in the above-captioned action so that all claims
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made against The Walt Disney Company are now made against ABC, Inc. d/b/a Disney Movies

Anywhere

       3.      The Walt Disney Company and RBDS further agree to dismiss The Walt Disney

Company without prejudice as allowed under Rule 41(a)(2) of the Federal Rules of Civil

Procedure.

       4.      RBDS has not released, and nothing in this Stipulation should be construed as a

release or discharge of, any claim RBDS has or may have in the future against any defendant

named in these actions or any other asserted infringer of the patents-in-suit. All other rights have

been expressly reserved.

       5.      Likewise, ABC, Inc. d/b/a Disney Movies Anywhere reserves all rights to Answer

or otherwise respond to the Complaint in any way that may be appropriate. Specifically, ABC,

Inc. d/b/a Disney Movies Anywhere expressly reserves the right to challenge the pleadings as to

personal jurisdiction, venue, and/or failure to state a claim, or any other challenge allowed by the

Federal Rules of Civil Procedure that may apply to the Complaint here.

       6.      The Walt Disney Company, ABC, Inc. d/b/a Disney Movies Anywhere and

RBDS agree that if RBDS forms a reasonable belief through discovery that The Walt Disney

Company is making, offering for sale or selling in the United States, or importing into the United

States, any of the products or instrumentalities accused of infringement in the Complaint, or any

products that are substantially similar, The Walt Disney Company and ABC, Inc. d/b/a Disney

Movies Anywhere will not raise or rely on this stipulation in opposition to any motion to add

The Walt Disney Company as a defendant in these actions.

                 JOINT MOTION FOR EXTENSION OF ANSWER DATE

       Given the substation of defendants, the Parties respectfully submit that good cause exists

for the answer date to be extended in order to give the substituted defendant, ABC, Inc. d/b/a
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Disney Movies Anywhere, time to answer or otherwise respond to the Complaint. Therefore, the

Parties respectfully move the Court to grant an additional 30 days to respond to the Original

Complaint filed by RBDS. This extension is not sought for delay and will not prejudice either

party.


                                      CONCLUSION

         Accordingly, The Walt Disney Company, ABC, Inc. d/b/a Disney Movies Anywhere and

RBDS request that the Court enter the attached order dismissing The Walt Disney Company

without prejudice, and substituting ABC, Inc. d/b/a Disney Movies Anywhere as a defendant.

ABC, Inc. d/b/a Disney Movies Anywhere and RBDS also request the court grant ABC, Inc. d/b/a

Disney Movies Anywhere an additional 30 days to file an answer or otherwise respond to the

Original Complaint of RBDS.
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 Dated February 6, 2017                            Respectfully Submitted,

 /s/ Jay Johnson                                      /s/ Abran J. Kean
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                                                    Company and Substituted Party ABC, Inc.
                                                    d/b/a Disney Movies Anywhere




                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served with a copy of this document via the Court’s
 CM/ECF system per Local Rule CV-5(a)(3) on February 6, 2017.


                                                   /s/Jay Johnson
                                                   Jay Johnson
